Case: 20-1933 Case
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                   1:20-cv-00536-SM    Page: 187 Date
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                      United States Court of Appeals
                                        For the First Circuit
                                           _____________________
      Nos.   20-1933
             20-2005
             20-2091
             21-1317

                                        SENSA VEROGNA, individual,

                                              Plaintiff - Appellant,

                                                        v.

                                                TWITTER, INC.,

                                             Defendant - Appellee.
                                             __________________

                                                     Before

                                        Lynch, Thompson and Kayatta,
                                               Circuit Judges.
                                           __________________

                                                 JUDGMENT

                                            Entered: August 8, 2022

              Plaintiff, proceeding pseudonymously, sued Twitter, Inc., after his account was suspended.
      He sought leave to proceed under a pseudonym. In a thoughtful order, applying by agreement the
      Third Circuit's decision in Doe v. Megless, 654 F.3d 404 (3d Cir. 2011), the district court denied
      plaintiff's request and ordered him to identify himself. Plaintiff appealed and the district court
      stayed proceedings. Plaintiff thereafter filed multiple additional appeals.

              Courts have accepted appellate jurisdiction over orders relating to the anonymity of parties,
      see Doe v. Village of Deerfield, 819 F.3d 372, 376 (7th Cir. 2016) (citing cases from the Fourth,
      Fifth, Ninth, Tenth, and Eleventh Circuits), and we do likewise. See Does 1-3 v. Mills, 39 F.4th
      20 (1st Cir. 2022). After careful review of the record and the submissions of the parties, the district
      court's order of August 27, 2020, insofar as it denies plaintiff's motion to proceed anonymously;
      its order of September 14, 2020, insofar as it denies reconsideration of its August 27 order; and its
      order of September 21, 2020, denying plaintiff's motion to delay disclosure of his true name, are
      affirmed.
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              Each of the remaining appeals is jurisdictionally defective for one or more reasons and is
      therefore dismissed, as either untimely brought, duplicative, and/or seeking review of certain non-
      appealable interlocutory orders. Those two appeals, Nos. 20-2091 and 21-1317, are therefore
      dismissed for lack of appellate jurisdiction.



                                                           By the Court:

                                                           Maria R. Hamilton, Clerk




      cc:
      Seth R. Aframe
      Jonathan Mark Eck
      David A. Perez
      Julie E. Schwartz
      Sensa Verogna
